                        IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHVILLE DIVISION

                                            )           C. A. No: Case 1:20-cv-294
Donna Sue Neira                             )
              Plaintiff,                    )
                                            )
                   v.                       )           JURY TRIAL DEMANDED
                                            )
Goodfella’s Pizza, Inc. and Aaron Fox       )
                                            )
                                            )
               Defendants                   )



                                     COMPLAINT


         COMES NOW Plaintiff, Donna Sue Neira, by and through her undersigned counsel, and
files this her Complaint.

                                     PARTIES

        1. Plaintiff is a United States citizen and resident of South Carolina. At all times
           relevant to this Complaint, Plaintiff was a resident of Clyde, Haywood County,
           North Carolina.

        2. Defendant Goodfella’s Pizza, Inc. (hereinafter “Goodfella’s”) is a South Carolina
           corporation, and is licensed to do business in North Carolina.

        3. Goodfella’s operates numerous Domino’s franchise stores throughout North
           Carolina, South Carolina and Tennessee and at all times relevant to this Complaint,
           owned, operated and managed a Domino’s restaurant located at 337 Walnut St.,
           Waynesville, North Carolina. The acts and omissions giving rise to this Complaint
           and causes of action occurred in North Carolina.

        4. Defendant, Aaron Fox (hereinafter “Fox”) is individually liable because at all times
           relevant to this Complaint, he was an owner of substantial interest in Goodfella’s,
           served as officer of the entity, and held managerial responsibilities and substantial
           control over the terms and conditions of Plaintiff’s employment, including the ability
           to grant of deny Plaintiff the right to take leave under the FMLA.

        5. This Court has jurisdiction over the claims and causes of action raised in this
           Complaint pursuant to 28 U.S.C. §1331.




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6. Venue is proper in this judicial district because Defendants havesubstantial business
   contacts in this district, and because the unlawful acts alleged herein occurred
   substantially in Haywood County, North Carolina.

7. At all relevant times, Defendants were an “employer” within the meaning of the
   Family Medical Leave Act, 29 U.S.C. § 2611(4)(A).

8. At all relevant times, Plaintiff was an “employee” within the meaning of the Family
   Medical Leave Act, 29 U.S.C. § 2611(2)(A).(hereinafter “FMLA”)

                             FACTUAL ALLEGATIONS

9. Plaintiff was first employed by Defendants in approximately February 2018.
   Plaintiff was assigned to the Defendants Waynesville store. Plaintiff was employed
   as a full time employee working over 40 hours per week.

10. In May 2019, Plaintiff was employed as the General Manager of the Waynesville
    location. At that time, Plaintiff’s direct supervisor was District Manager Monica
    Maxwell.

11. Upon information and belief, in 2019, Defendants operated four stores in Asheville,
    North Carolina and one store in each of the following North Carolina towns: Sylva,
    Franklin, Cherokee, Canton, and Hendersonville. In 2019, Defendants also operated
    stores in Pigeon Forge, Gatlinburg and Sevierville, Tennessee. Upon information
    and belief, at all times relevant to this Complaint, Defendants employed over 50
    employees within a 75 mile radius of the Waynesville store.

12. In the Spring of 2019, Plaintiff had several people who were very close to her die.
    These deaths caused Plaintiff a great deal of stress and anxiety and question her
    desire to continue in her role as General Manager. Plaintiff discussed her feelings
    with District Manager Monica Maxwell. As a result of these discussions, Maxwell
    told Plaintiff she could step back to a role as an Assistant General Manager.

13. In a text message on May 23, 2019, Plaintiff informed Defendants she was “putting
    in my 2 week’s notice. My last day will be June 5th, 2019 as general manger.”
    Plaintiff was confirming her decision to accept the less stressful role as Assistant
    General Manager.

14. On May 31, 2019, Plaintiff had a doctor’s appointment with Mission Health-
    Orthopedics and Sports Medicine in Franklin, North Carolina. During her
    appointment, Plaintiff was informed by her physician that she need surgery on her
    foot. Plaintiff would need to be absent from work because of the surgery and for
    time to recover from the surgery.

15. Following her doctors visit on May 31, 2019, Plaintiff had a text message exchange
    with Defendant Fox regarding her need for time off under the FMLA because of the
    surgery. During this text message exchange, Plaintiff requested the necessary FMLA




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            paperwork to be sent to her so it could be completed and submitted to support her
            request for time off under the FMLA.

        16. On May 31, 2019, Fox responded and told Plaintiff he would have Human
            Resources contact her on June 3, 2019 and send her the necessary paperwork.

        17. Human Resources never contacted Plaintiff.

        18. On June 3, 2019, Monica Maxwell telephoned Plaintiff and scheduled a meeting for
            June 4, 2019.

        19. On June 4, 2019 Plaintiff met with Maxwell at the Waynesville store. During the
            meeting, Maxwell told Plaintiff she was terminated.

        20. Defendants actions have been willful, wanton and in reckless disregard of the rights
            of Plaintiff.



          COUNT I- VIOLATION OF FMLA-INTERFERENCE WITH FMLA RIGHTS



        21. Plaintiff realleges each and every allegation contained in the above paragraphs as if
            repeated here verbatim.


        22. Defendants prevented Plaintiff from taking her lawfully permitted FMLA leave
            under 29 U.S.C. § 2612(a)(1)(A).


        23. Defendants denied, interfered with, and restrained Plaintiff from the lawful exercise
            of her substantive rights provided under the FMLA, denying her request for FMLA
            leave, and failing to provide her notice explaining why and an opportunity to cure
            any deficiencies in her documents requesting FMLA leave.

        24. Plaintiff has suffered damages because of Defendants willful and unlawful conduct.




                                           COUNT II
                               (Violation of FMLA - Retaliation)

      62.       Plaintiff realleges each and every allegation contained in the above paragraphs as
if repeated here verbatim.



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     63.         Defendants were well aware that Plaintiff had suffered a qualifying event under

the FMLA with her serious health condition, her need for surgery.

     64.      Plaintiff was unlawfully terminated in retaliation for attempting to take her
lawfully permitted FMLA leave to have surgery on her foot..

     65.         Plaintiff engaged in protected activity by requesting the paperwork so she could

apply for an FMLA leave and Defendant took an adverse action against Plaintiff by unlawfully

terminating her instead of permitting her to take FMLA leave.

     66.         Defendant’s adverse employment action was causally connected to Plaintiff’s

protected activity, as shown by the proximity in time between the protected FMLA qualifying

event and her termination.

     67.         Plaintiff has suffered damages because of Defendants’ unlawful conduct.

     68.         Defendants’ violation of the FMLA, 29 U.S.C. § 2615(a)(2), by retaliating against

Plaintiff because she engaged in protected activity under the FMLA, was willful and/or lacking

of good faith.




                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands the following relief:

                 (1)    A judgment requiring Defendant to reinstate Plaintiff to the position she

       held prior to her unlawful termination or to a comparable position with the same or equal

       salary, wages, bonus compensation, and all employment benefits;




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       (2)     A judgment awarding Plaintiff lost wages, including front pay, lost employment

benefits, and any other compensation denied or lost because of Defendant’s violation of the

FMLA;


      (3)      A judgment awarding Plaintiff liquidated damages for Defendant’s violation of
the FMLA;

               (4)      An Order that the costs of this action be taxed against Defendant;

               (5)      An Order awarding Plaintiff reasonable attorneys’ fees;

               (6)      Pre-judgment and post-judgment interest calculated at the prevailing legal
       rate;

               (7)      An Order granting any other necessary or appropriate relief to which

       Plaintiff is entitled under the law.


                                     JURY TRIAL DEMAND


                   Plaintiff demands a trial by jury in this matter.


                                                Respectfully submitted,

                                                /s/ Jacob J. Modla
                                                Jacob J. Modla
                                                N.C Bar. ID No: 17534
                                                The Law Offices of Jason E. Taylor P.C.
                                                115 Elk Ave.
                                                Rock Hill, SC 29730
                                                T: 803-328-0898
                                                E-Mail: jmodla@jasonetaylor.com
October 12, 2020                                ATTORNEY FOR PLAINTIFF




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